Case 1:15-cv-00701-JWF Document 206 Filed 09/14/21 Page 1 of 30

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

DOUGLAS J. HORN, et al.,

Decision and Order

 

Plaintiffs,

Vv. 15-CV-701-JWF

MEDICAL MARIJUANA, INC., et al.,

Defendants.

 

PRELIMINARY STATEMENT

 

On July 22, 2021, defendant Dixie Holdings, LLC (“Dixie
LLC”) filed a motion in limine to preclude the testimony of Mark
P. Zaporowski, Ph.D., plaintiff's expert economist. Docket # 194.
While styled as a motion in limine, in truth Dixie LLC’s motion is
of a dispositive nature: it contends that the kinds of damages
that plaintiff seeks to recover are not recoverable through either
of his remaining claims. Defendants Medical Marijuana, Inc. and
Red Dice Holdings, LLC join in the motion. Docket # 200.
Plaintiff opposes the motion. Docket # 198.

On August 3, 2021, the Court informed the parties that it
intended to dismiss plaintiff’s civil RICO claim (with a written
Decision and Order to follow) and requested the parties brief the
issue of the Court’s subject matter jurisdiction over the state-

law fraud claim. Docket ## 203-05.
Case 1:15-cv-00701-JWF Document 206 Filed 09/14/21 Page 2 of 30

Having reviewed all the briefing submitted, and for the
reasons set forth below, the Court concludes that plaintiff's civil
RICO claim must be dismissed as a matter of law, that plaintiff’s
fraud claim is viable insofar as plaintiff seeks to recover lost
earnings, and that the Court retains subject matter jurisdiction
over the fraud claim. Accordingly, defendants’ motion is GRANTED

IN PART and DENIED IN PART.

DISCUSSION

Prior to the scheduled jury trial, plaintiff had two remaining
causes of action: a civil RICO claim and a state-law fraudulent
inducement claim.? In both claims plaintiff sought to recover
damages for the losses he incurred when his employment as a truck
driver was terminated, including “past and future lost
compensation, lost health benefits, lost retirement savings and
difference in work effort mileage driven.” Docket #179 at 2. To
support his damages calculations, plaintiff intended to proffer at
trial the testimony of Dr. Zaporowski, who calculated the value of
plaintiff’s total economic damages. Id. Defendants contend that

plaintiff cannot recover these kinds of “loss of earnings” damages

 

1 Plaintiff had other claims that were previously addressed and dismissed by
Judge Geraci. See Horn v. Medical Marijuana, Inc., 383 F. Supp. 3d 114 (W.D.N.Y.
2019).

 

2
Case 1:15-cv-00701-JWF Document 206 Filed 09/14/21 Page 3 of 30

in connection with either a civil RICO or state-law fraud claim.
As will be discussed below, defendants are correct with respect to
the former claim, but not the latter.

Delay and Prejudice to Plaintiff: Before discussing the

 

merits, the Court will address plaintiff's arguments on the timing
of Dixie LLC’s motion. See Docket ## 197, 198. As the Court
stated on the record at the prior conferences on this motion, the
timing of the motion and the prejudice to plaintiff resulting
therefrom is both concerning and unfortunate. However, the Court
has already concluded that the Dixie LLC’s delay in raising these
potentially dispositive issues was not attributable to bad faith.
Furthermore, once raised, the Court could not avoid deciding the
issue. If defendants were correct on the damage issue, it would
have made little sense to proceed to trial, as the Court would be
required to instruct the jury on the law as to recoverable damages.
Tf plaintiff cannot, as a matter of law, recover the type of
damages he seeks, the trial would have essentially been a pointless
exercise in futility. Deciding the issue now, however late it has
been raised, still ensures that the parties, the Court and the
jurors do not spend time or energy on claims for which plaintiff
Cannot recover the damages he seeks. While the Court acknowledges

the costs plaintiff has incurred due to the delay of trial,
Case 1:15-cv-00701-JWF Document 206 Filed 09/14/21 Page 4 of 30

judicial economy and fairness to the parties require resolution of
the damage issues prior to the commencement of trial.

Plaintiff also makes two threshold arguments that merit only
brief comment. First, plaintiff cites Dixie LLC’s eleventh
affirmative defense in its answer to argue that Dixie LLC has long
known about this issue. See Docket # 9 at 11; Docket # 198 at 6.
The eleventh affirmative defense is that plaintiff’s injuries “do
not arise out of any [RICO] predicate acts” and that plaintiff “is
therefore without standing.” Docket # 9 at 11. That issue is
different than the one Dixie LLC now raises — that plaintiff’s
damages are not recoverable as injuries to “business or property”
under the RICO statute. Second, plaintiff claims that Judge Geraci
decided this issue at summary judgment, which is incorrect. See

generally Horn v. Medical Marijuana, Inc., 383 F. Supp. 3d 114

 

(W.D.N.Y, 2019). Accordingly, the Court turns to the merits of
the pending motion.

Cognizable Damages in Civil RICO claims: Defendants argue
that plaintiff’s requested “loss of earnings” damages are not
recoverable in a civil RICO action because they are predicated on
the bodily invasion plaintiff allegedly sustained when THC was
introduced into his system through the ingestion of Dixie X. The

Court agrees.
Case 1:15-cv-00701-JWF Document 206 Filed 09/14/21 Page 5 of 30

RICO establishes a private right of action to “fa]ny person
injured in his business or property by reason of a violation of
section 1962 of this chapter.” 18 U.S.C. § 1964(c). Defendants’
argument implicates the first clause in this provision: that one
must be injured “in his business or property” in order to recover
under Section 1964(c).

This statutory language has a long history. Congress modeled
Section 1964(c) and its private right of action on the “the civil-
action provision of the federal antitrust laws, § 4 of the Clayton

Act,” Holmes v. Secs. Inv’r Protection Corp., 503 U.S. 258, 267

 

(1992), which provides: “[A]ny person who shall be injured in his

business or property by reason of anything forbidden in the

 

antitrust laws may sue therefor in any district court of the United
States ...." 15 U.S.C. § 15(a) (emphasis added). In the
context of the Clayton Act, the Supreme Court has held that the
“business or property” clause encompasses harm to “commercial
interests or enterprises,” Hawaii v. Standard Oil Co. of
California, 405 U.S. 251, 264 (1972), but not “personal injuries

suffered.” Reiter v. Sonotone Corp., 442 U.S. 330, 339 (1979).

 

Compare id. (“[A] consumer . . . acquiring goods or services for
personal use[] is injured in ‘property’ when the price of those

goods or services is artificially inflated by reason of the
Case 1:15-cv-00701-JWF Document 206 Filed 09/14/21 Page 6 of 30

anticompetitive conduct complained of.”), with Chadda v. Burcke,

 

180 F. App’x 370, 371-72 (3d Cir. 2006) (summary order) (consumer’s
injuries suffered from use of a cosmetic “at most” asserted a
“personal injury” that did not support an antitrust claim).

In interpreting and applying Section 1964(c), courts have
taken the same approach. “[A] plaintiff only has standing [under
civil RICO] if, and can only recover to the extent that, he has

been injured in his business or property by the conduct

 

constituting the violation.”? Sedima, S.P.R.L. v. Imrex Co., 473

 

U.S. 479, 496 (1985) (emphasis added). An injury to “business or
property” under Section 1964(c) contemplates “a proprietary type

of damage” or “economic injury.” Bascunan v. Elsaca, 874 F.3d

 

806, 817 (2d Cir. 2017). As a simple example, “a person physically
injured in a fire whose origin was arson is not given a right to

recover for his personal injuries; damage to his business or his

 

2 Although the issue is sometimes framed as one of “standing,” as in Sedima,
the Court notes that this label is “misleading.” Lexmark Int’‘l, Inc. v. Static
Control Components, Inc., 572 U.S. 118, 128 n.4 (2014). The Supreme Court has
made clear that “the absence of a valid (as opposed to arguable) cause of action
does not implicate subject-matter jurisdiction, i.e., the court’s statutory or
constitutional power to adjudicate the case.” Id.; see also Am. Psychiatric
Ass'n v. Anthem Health Plans, Inc., 821 F.3d 352, 359 (2d Cir. 2016) (“(W)hat
has been called ‘statutory standing’ in fact is not a standing issue, but simply
a question of whether the particular plaintiff has a cause of action under the

 

 

 

 

statute.” (internal quotation marks omitted)); Safe Streets Alliance v.
Hickenlooper, 859 F.3d 865, 887 (10th Cir. 2017) (“[W]hat we once called ‘RICO

standing’ or ‘statutory standing’ we now properly characterize as the usual
pleading-stage inquiry: whether the plaintiff has plausibly pled a cause of
action under RICO.”).

6
Case 1:15-cv-00701-JWF Document 206 Filed 09/14/21 Page 7 of 30

building is the type of injury for which § 1964(c) permits suit.”

Bankers Trust Co. v. Rhoades, 741 F.2d 511, 515 (2d Cir. 1984),

 

vacated on other grounds, 473 U.S. 922 (1985).

 

The limitation is perhaps easier to state than to apply. A
fundamental difficulty is that money “is a form of property,”
Reiter, 442 U.S. at 338, and “[m]ost personal injuries” will entail
“some pecuniary consequences,” including “loss of earnings, loss
of consortium, loss of guidance, mental anguish, and pain and
suffering.” Doe v. Roe, 958 F.2d 763, 770 (7th Cir. 1992). A
litigant could easily recast damages for personal injury as a
financial loss of “property” in order to invoke civil RICO. See,
e.g., id. (noting that, theoretically, one could view the “economic
aspects of [a personal injury]” as “injuries to ‘business or
property’”); Grogan v. Platt, 835 F.2d 844, 846 (11th Cir. 1988)
(discussing plaintiffs’ argument that “persons who are killed or
injured by RICO predicate acts suffer real economic consequences
as a result”). As a result, in deciding whether an injury is “to
business or property” — and thus recoverable under civil RICO — or
is personal — and thus not recoverable — courts do not look solely
at whether there is a “financial loss.” Doe, 958 F.3d at 770.
Instead, they ask whether the plaintiff seeks to recover for a

loss that flows from, or is derivative of, a personal injury. If
Case 1:15-cv-00701-JWF Document 206 Filed 09/14/21 Page 8 of 30

it does, then it is not recoverable under civil RICO. See Jackson

v. Sedgwick Claims Mgmt. Servs., Inc., 731 F.3d 556, 565-66 (6th

 

Cir. 2013) (“[B]loth personal injuries and pecuniary losses flowing
Erom those personal injuries fail to confer relief under §
1964(c).”); Grogan, 835 F.2d at 848 (holding that plaintiffs
“cannot recover under RICO for those pecuniary losses that are
most properly understood as part of a personal injury claim”).

In recognition of this distinction, courts have held that
lost earnings or wages are not recoverable if they flow from a

personal injury. See Evans v. City of Chicago, 434 F.3d 916, 926-

 

27 (7th Cir. 2006) (“The loss of income as a result of being unable
to pursue employment opportunities while allegedly falsely
imprisoned . . . are quintessentially pecuniary losses derivative

of personal injuries arising under tort law.”), overruled on other

 

grounds, Hill v. Tangherlini, 724 F.3d 965 (7th Cir. 2013);

 

Jackson, 731 F.3d at 565. Here, plaintiff does not allege that
defendants engaged in a fraudulent scheme that directly caused his

loss of employment. To the contrary, plaintiff acknowledges that

 

 

“[t]he nexus between the RICO violations . . . and [plaintiff's]
resulting economic damages . . is the harm of the THC that was
introduced into [his] system by Defendants’ product.” Docket #
198 at 7 (emphasis added). In other words, what connects
Case 1:15-cv-00701-JWF Document 206 Filed 09/14/21 Page 9 of 30

defendants’ fraudulent scheme to plaintiff’s loss of employment
and earnings is a personal injury: the bodily invasion that
plaintiff suffered when he unwittingly ingested THC. Cf. Doe v.
Brown Univ., 304 F. Supp. 3d 252, 265 (D.R.I. 2018) (plaintiff
sufficiently alleged tort of battery, where she claimed defendant
“spiked” her drink, which caused her “harmful mental and physical
effects”). Unfortunately for plaintiff, he may not recover lost

earnings arising from that sort of personal injury in connection

with a civil RICO claim. Accord Laborers Local 17 Health & Benefit

 

Fund v. Philip Morris, Inc., 191 F.3d 229, 241 (2d Cir. 1999)

 

(noting that smokers cannot assert RICO claims for fraudulent
cigarette marketing “because the RICO statute requires an injury

to ‘business of property’”); Genty v. Resolution Trust Corp., 937

 

F.2d 899, 918-19 (3d Cir. 1991) (“RICO plaintiffs may recover
damages for harm to business and property only, not physical and
emotional injuries due to harmful exposure to toxic waste.”); Aston

v. Johnson & Johnson, 248 F. Supp. 3d 43, 49-50 (D.D.C. 2017) (loss

 

of earnings in connection with pharmaceutical drug); Zimmerman v.

Poly Prep Country Day Sch., 888 F. Supp. 2d 317, 329-30 (E.D.N.Y.

 

2012) (plaintiffs could not recover lost wages and out-of-pocket
expenses caused by sexual abuse); Bougopoulos v. Altria Grp., Inc.,

954 F. Supp. 2d 54, 66 (D.N.H. 2013) (“lost income” due to
Case 1:15-cv-00701-JWF Document 206 Filed 09/14/21 Page 10 of 30

plaintiff’s inability to work from smoking); Gotlin v. Lederman,

 

367 F. Supp. 2d 349, 357 (E.D.N.Y¥. 2005) (where plaintiffs alleged
that defendants fraudulently misrepresented quality of cancer
treatment, dismissing civil RICO claim and noting that
“allegations of a financial loss incidental to a personal injury
such as loss of earnings or pain and suffering are not considered
injury to property or business”), aff'd, 483 F. App’x 583 (2d Cir.

2012) (summary order); Gause v. Philip Morris, No. 99-CV-6226,

 

2000 WL 34016343, at *4 (E.D.N.Y. Aug. 8, 2000) (where plaintiff
alleged tobacco companies fraudulently marketed cigarettes and
thereby caused her to smoke and develop emphysema, she could not
recover lost income under civil RICO on the theory that she was
unable to work due to her illness), aff'd, 29 F. App’x 761 (2d
Cir. 2002) (summary order).

The cases that plaintiff cites in his opposition memorandum
do not persuade the Court otherwise. Indeed, many of those cases
demonstrate the distinction that courts draw between
business/property injuries and personal injury, as they involve
economic harm flowing directly from RICO predicate acts without
any intervening personal injury. See Denney v. Deutsche Bank AG,
443 F.3d 253, 260, 265 (2d Cir. 2006) (scheme to market unlawful

tax strategies allegedly caused plaintiffs to, inter alia, pay

10
Case 1:15-cv-00701-JWF Document 206 Filed 09/14/21 Page 11 of 30

“excessive fees” for the advice, sustain penalties from the IRS,
and incur costs to remediate their tax situations); City of New

York v. Fedex Ground Package Sys., Inc., 175 F. Supp. 3d 351, 369-

 

71 (S.D.N.Y. 2016) (delivery service’s circumvention of New York
cigarette taxes caused state and local governments to lose tax

revenue); Kriss v. Bayrock Grp. LLC, No. 10-CV-3959, 2016 WL

 

7046816, at *19 (S.D.N.Y. Dec. 2, 2016) (real estate organization,
which was engaged in fraudulent activities, enticed “real estate
finance professionals” to join organization and caused them to

ass up “lucrative opportunities” elsewhere); Rodonich v. House
p Pp PP

 

Wreckers Union, 627 F. Supp. 176, 180 (S.D.N.Y. 1985) (union
unlawfully disciplined union members in scheme to. suppress
dissent, which caused lost wages).

Plaintiff cites two cases as supporting the view that he may
recover lost earnings resulting from his claimed bodily invasion.
The Court is not convinced by either. First is Jerry Kubecka,
Inc. v. Avellino, 898 F. Supp. 963 (E.D.N.Y. 1995). In Kubecka,
it was alleged that the defendants murdered two executives in
connection with a dispute over garbage disposal contracts in Long
Island. Kubecka, 898 F. Supp. at 966. The plaintiffs included
two corporations that alleged they were “injured in their business

or property .. . [when] their executives were murdered and thereby

11
Case 1:15-cv-00701-JWF Document 206 Filed 09/14/21 Page 12 of 30

removed as executives.” Id. at 969. The court agreed, apparently
accepting that the murders interfered with the corporations’
operations in such a way as to constitute an injury to “business
or property” under RICO. Id. Whatever the soundness of that
rationale with respect to corporate losses, it does not support
the proposition that an individual who loses his job due to
personal injury caused by RICO predicate acts may maintain a RICO
claim.

The second case is Blue Cross & Blue Shield of New Jersey,

 

Inc. v. Philip Morris, Inc., 36 F. Supp. 2d 560 (E.D.N.Y. 1999).

 

There, medical insurers sued tobacco companies to recover
“economic damages they incurred in the medical treatment of
diseases caused by tobacco use.” Blue Cross, 36 F. Supp. 2d at
565. They claimed tobacco companies had fraudulently
misrepresented the health consequences of smoking and brought RICO
claims premised on, among other things, mail and wire fraud. Id.
at 565-66. The court held that the insurers’ medical expenditures
constituted a loss to business or property and that “[a]ny personal
injuries to smokers . . . caused by [tobacco companies’] alleged
racketeering are separate and distinct from the [insurers’]

economic injuries suffered by their businesses.” Id. at 569-71.

12
Case 1:15-cv-00701-JWF Document 206 Filed 09/14/21 Page 13 of 30

Blue Cross is unpersuasive. As a general matter, the
reasoning in Blue Cross is inconsistent with the history, logic,
and interpretation of the “business or property” clause that the
Court has described above. For that reason, the decision “has
been criticized by numerous courts” and has been acknowledged to

“rest[] on tenuous legal footing.” Magnum v. Archdiocese of

 

Philadelphia, No. 06-CV-2589, 2006 WL 3359642, at *4 n.6 (E.D. Pa.
Nov. 17, 2006). Regardless, even if the Court were to accept the
distinction that Blue Cross drew between insurers and insureds,
that distinction does not help plaintiff: he is not attempting to
recover economic damages that are “separate and distinct” from the
bodily invasion he suffered from unwittingly consuming THC. As
plaintiff himself admitted, his “economic damages” resulted from
“the harm of the THC that was introduced into [his] system by
Defendants’ product.” Docket # 198 at 7; accord Zimmerman, 888 F.
Supp. 2d at 330 (distinguishing Blue Cross on the basis that
“Plaintiffs’ alleged lost wages and out-of-pocket expenses are, in
their own words, closely associated with the personal injuries
they incurred as a result of Defendants’ misconduct” (internal
quotation marks omitted) ).

In sum, because plaintiff’s loss of earnings flows from, and

is derivative of, a personal injury he suffered, his lost earnings

13
Case 1:15-cv-00701-JWF Document 206 Filed 09/14/21 Page 14 of 30

do not constitute an injury “to business or property” that is
recoverable in a civil RICO action. And because plaintiff does
not seek to recover any other damages, his RICO claim fails as a
matter of law and must be dismissed. See Fed. R. Civ. P. 56(f).

Plaintiff’s Fraud Claim: Noting that New York only permits

 

recovery for “out-of-pocket” losses in a fraud action, defendants
next assert that a fraud plaintiff is categorically prohibited
from recovering lost earnings. Docket # 194 at 4-6. The Court
disagrees.

In New York, if a plaintiff can prove the elements of a claim
for fraud, he is entitled to recover “any proximately caused

damages.” Carbon Capital Mgmt., LLC v. Am. Express Co., 932

 

N.Y.S.2d 488, 494 (2d Dep’t 2011); see also Williams v. Goldberg,

 

109 N.Y.S. 15, 16 (App. Term. 1908) (‘All manner of fraud is
abhorrent to the law, and if one person sustains injury through
the fraud of another he will be afforded a proper remedy.”) ;

Goldberg v. Mallinckrodt, Inc., 792 F.2d 305, 307 (2d Cir. 1986)

 

(“Under New York law, damages for fraud must be the direct,
immediate, and proximate result of the fraudulent
misrepresentation.”); 60A N.Y.Jur.2d Fraud and Deceit § 190 (“The
injured party is entitled to recover in a tort action for deceit

only such damages as result directly, necessarily, and proximately

14
Case 1:15-cv-00701-JWF Document 206 Filed 09/14/21 Page 15 of 30

from the fraud.” (footnotes omitted)). What damages are
recoverable in a given case will necessarily depend on the nature

of the fraud and of the resulting injuries. Hotaling v. A.B. Leach

 

& Co., 247 N.Y. 84, 88 (1928) (“Varying circumstances must
logically require variation in the application of th[e] measure of
damages.”).

Where the fraud occurs in the context of a business
transaction, the measure of damages will ordinarily be “the
difference between the amount paid and the value of the article
received.” Hotaling, 247 N.Y. at 87-88. Where the fraud
proximately causes other consequential expenses, such damages may

also be recovered. See Lama Holding Co. v. Smith Barney Inc., 88

 

N.Y¥.2d 413, 423 (1996) (noting that consequential damages are
recoverable in fraud action so long as they “naturally flow[]”

from the fraud); see, e.g., Idrees v. Am. Univ. of the Caribbean,

 

546 F. Supp. 1342, 1350 (S.D.N.Y. 1982) (student fraudulently
induced to enroll in medical school could recover “tuition,
inscription fee, application fee and round-trip air fare between

New York and [the school]“); Orbit Holding Corp. v. Anthony Hotel

 

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Corp., 503 N.Y.S.2d 780, 783 (ist Dep’t 1986) (where seller of
property fraudulently concealed lease, purchaser could recover for

costs of settling dispossess proceeding with tenant); Cayuga

15
Case 1:15-cv-00701-JWF Document 206 Filed 09/14/21 Page 16 of 30

Harvester, Inc. v. Allis-Chalmers Corp., 465 N.Y¥.S.2d 606, 619

 

(4th Dep’t 1983) (fraud plaintiff could recover damages for lost

crops that resulted from the purchase of defective machine).
Finally — and more relevant here — New York courts have long

permitted a fraud plaintiff to recover damages for personal injury

proximately caused by fraud. See Kuelling v. Roderick Lean Mfg.

 

Co., 183 N.Y. 78, 89 (1905) (collecting cases and holding that
“one who sells an article, knowing it to be dangerous by reason of
concealed defects .. . is liable in damages to any person

who suffers an injury by reason of his willful and fraudulent

deceit and concealment.”); Tulloch v. Haselo, 218 N.Y.S. 139, 141

 

(3d Dep’t 1926) (“[A] cause of action for deceit may arise where,
as the result of false representation, the damage results in

personal injuries.”); see, e.g., Simcuski v. Saeli, 44 N.Y.2d 442,

 

451-53 (1978) (where medical provider fraudulently advised patient

about treatment, patient could recover damages for the
“deprivfation] of the opportunity for [a] cure”); Kuelling, 183

N.Y. at 88-89 (fraudulent concealment of defect in agricultural
implement, which caused plaintiff “severe injuries,” gave rise to
fraud claim and recovery of proximately caused damages); Williams,
109 N.Y.S. at 16 (tenant could recover damages in fraud action for

physical injuries incurred when ceiling collapsed on her, where

16
Case 1:15-cv-00701-JWF Document 206 Filed 09/14/21 Page 17 of 30

defendant's agent fraudulently misrepresented ceiling’s
condition); Tulloch, 218 N.Y.S. at 142 (positing that if a person
misrepresented the safety of a gun and a recipient were injured
“by reason of the defects in the gun,” a “cause of action for

common-law deceit would arise in his favor”); Young v. Robertshaw

 

Controls Co., 481 N.Y.S.2d 891, 893-94 (3d Dep’t 1984) (finding
that plaintiff stated viable fraud claim, where she alleged that
fraudulent concealment of defective control valve caused the
explosion of a water heater and the death of her husband, and where
she sought compensatory damages for husband’s “conscious pain and

suffering and wrongful death”); see also City of New York v. Lead

 

Indus. Ass‘n, 597 N.Y.S.2d 698, 700 (ist Dep't 1993)
(“Misrepresentations of safety to the public at large, for the
purpose of influencing the marketing of a product known to be
defective, gives rise to a separate cause of action for fraud.”).

The position of New York courts on the scope of recoverable
damages in a fraud action mirrors in large part that of the
Restatement (Second) of Torts:

The recipient of a fraudulent misrepresentation is

entitled to recover as damages in an action of deceit

against the maker the pecuniary loss to him of which the

misrepresentation is a legal cause, including

(a) the difference between the value of what he has

received in the transaction and its purchase price
or other value given for it; and

17
Case 1:15-cv-00701-JWF Document 206 Filed 09/14/21 Page 18 of 30

(b) pecuniary loss suffered otherwise as a consequence
of the recipient's reliance upon the
misrepresentation.

Restatement (Second) of Torts § 549(1)(a)-(b) (1977); see also

 

Clearview Concrete Prods. Corp. v. S. Charles Gheradi, Inc., 453

 

N.Y¥.S.2d 750, 755 (2d Dep’t 1982) (citing Section 549 favorably).
In addition to those categories of damages, the Restatement
provides that “[o]ne who by a fraudulent misrepresentation

causes physical harm to [a] person . . . who justifiably relies

upon the misrepresentation[] is subject to liability to the other.”

Id. § 557A (emphasis added). The “ordinary rules as to legal
cause” — i.e., proximate cause — govern claims for fraudulent
misrepresentation causing physical harm. Id. § 557A cmt.; see

generally id. § 431 (discussing “legal cause”).

Plaintiff’s fraud claim fits within this overall framework.
As defendants acknowledge in their briefing, plaintiff is
essentially alleging that he suffered a personal injury as a result
of defendants’ fraud: he was induced to consume Dixie xX by
defendants’ misrepresentations, which caused him to suffer a
bodily invasion through the ingestion of THC and which, in turn,
rendered him ineligible for his employment. See Docket # 194 at
2; Docket # 200 at 7-9, 15; Docket # 201 at 7. Defendants also

acknowledge that the damages plaintiff seeks are intended to
18
Case 1:15-cv-00701-JWF Document 206 Filed 09/14/21 Page 19 of 30

compensate for the losses he incurred because of his personal
injury. See Docket # 194 at 4; Docket # 200 at 7-9, 12; Docket #
201 at 7. Plaintiff’s theory is, at its core, a fairly
conventional one. A plaintiff claims he was injured by a product
that he was induced to purchase by allegedly fraudulent marketing
practices, and he seeks to recover for the earnings he lost because
of his injury. It would be difficult for defendants to argue that
this represents some novel theory of relief, as, again, they
repeatedly analogize plaintiff’s claim to commonplace toxic-
exposure cases. See Docket # 200 at 7, 10-11; Docket # 201 at 7-
8.

Thus, the fundamental question is not whether plaintiff's
theory of liability or damages fits generally within the framework
of a fraud claim — it does — but whether he can establish a

sufficiently strong causal connection between defendants’ fraud

and his claimed injury (i.e., the bodily invasion of THC) and
alleged damages (i.e., the loss of wages/benefits from his
employment). Proximate causation is an issue of fact for the jury.

See Benitez v. N.Y.C. Bd. Of Educ., 73 N.Y¥.2d 650, 659 (1989); 79

 

N.Y.dur.2d Negligence § 58. At trial, the jury will be tasked
with deciding whether defendants’ fraud was “a substantial factor

in bringing about [plaintiff’s] injury [and associated damages] ,”

19
Case 1:15-cv-00701-JWF Document 206 Filed 09/14/21 Page 20 of 30

in that the fraud “had such an effect in producing the injury [and

associated damages] . . . that reasonable people would regard it
as a cause of the injury [and associated damages].” N.Y. Pattern
Jury Instructions § 2:70 (discussing in negligence context); see

 

also id. § 2:70 cmt. (noting that “[c]ausation is relevant both to
liability and to damages”). Regarding the intervening acts of
“independent” actors like plaintiff's former employer, the jury
will be tasked with deciding whether “a reasonably prudent person
in the defendant[s’] situation” would have “foreseen that an act
of the kind committed by [the independent actor] would be a

probable result” of their fraud. N.Y. Pattern Jury Instructions

 

§ 2:72 (discussing in the negligence context); see also id. cmt.
(“Where the acts of a third person intervene between the
defendant’s conduct and the plaintiff’s injury, the causal
connection is not automatically severed.”).

To the extent defendants are inviting the Court to decide, as
a matter of law, whether plaintiff will be able to sufficiently
establish proximate causation at trial, the Court declines to do
so. To be sure, “where only one conclusion may be drawn from the
established facts[,] the question of legal cause may be decided as
a matter of law.” Benitez, 73 N.Y.2d at 659 (internal quotation

marks and ellipsis omitted). But because proximate causation is

20
Case 1:15-cv-00701-JWF Document 206 Filed 09/14/21 Page 21 of 30

a factual issue, it necessarily requires careful examination of
the underlying circumstances. The time and place for that analysis
is not now. While the Court has permitted defendants to raise a
dispositive issue with respect to the civil RICO claim at this
late juncture, that is because it represents a purely legal issue
that can be resolved on the papers. Analyzing whether proximate
causation can be adequately established is a factual issue
deserving of fact-finding by a jury. Even now, defendants have
not submitted any sort of Rule 56 Statement of Facts or admissible
evidence in connection with their motion and the Court will not
embark on its own sua sponte analysis of the record to resolve the

issue. See United States v. Zannino, 895 F.2d 1, 17 (1st Cir.

 

1990) (“It is not enough merely to mention a possible argument in
the most skeletal way, leaving the court to do counsel’s work,
create the ossature for the argument, and put flesh on its
bones.”).

Defendants do raise other purely legal arguments concerning
plaintiff's fraud claim, which the Court can dispose of now.
First, defendants assert that “loss of earnings” damages are wholly
unrecoverable in a fraud claim, allegedly due to New York’s “out

of pocket” rule. This argument is unconvincing.

21
Case 1:15-cv-00701-JWF Document 206 Filed 09/14/21 Page 22 of 30

New York’s “out-of-pocket” rule provides the “standard for

 

measuring” the loss suffered due to fraud. 60A N.Y.Jur.2d Fraud
and Deceit § 281. It limits recoverable damages to “the actual
pecuniary loss sustained as the direct result of the wrong.” Sw.

Inv'rs Grp., LLC v. JH Portfolio Debt Equities, LLC, 93 N.Y.S.3d

 

775, 777 (4th Dep’t 2019). “Damages are to be calculated to
compensate plaintiffs for what they lost because of the fraud, not
to compensate them for what they might have gained” — as a result,
“there can be no recovery of profits which would have been realized
in the absence of fraud.” Lama Holding Co., 88 N.Y.2d at 421; see

also Pine Street Assocs., L.P. v. Hicks, No. 651440-2011, 2012 WL

 

1946822, at *6 (N.Y. Sup. Ct. May 24, 2012) (‘“[(F]raud damages are
not intended to provide a victim with ‘benefit of the bargain
damages,’ and are limited to indemnifying the injured party for
the actual losses sustained, that is, ‘out-of-pocket’ damages.”).
The rule’s rationale “is that the value to the claimant of a
hypothetical lost bargain is too undeterminable and speculative to

constitute a cognizable basis for damages.” Starr Foundation v.

 

Am. Int’l Grp., Inc., 901 N.Y.S.2d 246, 250 (lst Dep’t 2010)

 

(internal quotation marks and citation omitted).
Relying on this rule, New York courts have sometimes held

that a fraud plaintiff cannot recover for the “the loss of an

22
Case 1:15-cv-00701-JWF Document 206 Filed 09/14/21 Page 23 of 30

alternative bargain overlooked in favor of the fraudulent one.”

Geary v. Hunton & Williams, 684 N.Y.S.2d 207, 207 (lst Dep’t 1999).

 

Thus, lost profits which “would have been realized in the absence
of fraud” are not recoverable, Lama Holding Co., 88 N.Y.2d at 421,
nor are earnings that might be realized in connection with

hypothetical future employment. See, e.g., Mihalakis v. Cabrini

 

Med. Ctr. (CMC), 542 N.Y.S.2d 988, 990 (1st Dep’t 1989) (medical
student could not recover damages for “future earnings as a doctor”
via fraud claim).

But these cases have no application here. Plaintiff is not
seeking to obtain hypothetical lost earnings for an unrealized
opportunity he could have undertaken absent the fraud; he is asking
for damages to compensate for the actual job he already lost. In
other words, we are not dealing with a hypothetical alternative
bargain, but a realized, demonstrable loss of employment. See
Cayuga Harvester, 465 N.Y.S.2d at 619 (stating that a plaintiff
may not recover “profits based on the bargain it was fraudulently
induced to make,” but may recover damages for the “loss sustained
because it made the bargain”). As numerous cases demonstrate,
fraud claims premised on actual job loss are viable under New York

law. See, e.g., Leidl v. Please Hold (UK) Ltd., No. 17-CV-6134,

 

2018 WL 1089748, at *5 (S.D.N.Y. Feb. 2, 2018) (where plaintiffs

23
Case 1:15-cv-00701-JWF Document 206 Filed 09/14/21 Page 24 of 30

were fraudulently induced to quit employment, they were “entitled

to any damages they actually suffered in the form of lost wages”

 

(emphasis added)); Kwon v. Yun, 606 F. Supp. 2d 344, 361 (S.D.N.Y.
2009) (collecting cases for the proposition that “loss of benefits
flowing from one’s previous employment all are cognizable losses
in employment-related fraudulent inducement cases”); Laduzinski v.

Alvarez & Marsal Taxand LLC, 16 N.Y.S.3d 229, 232 (1st Dep’t 2015)

 

(where plaintiff alleged he was fraudulently induced to quit job
and accept new employment, concluding plaintiff had viable fraud
claim and damages based on “his loss of employment”); Navaretta v.
Grp. Health, 595 N.Y¥.S.2d 839, 841 (3d Dep’t 1993) (plaintiff could
recover “for injuries resulting from her reliance on defendant's
allegedly false statements,” including the “loss of benefits and
salary connected with her former employment” (emphasis omitted)).

Of course, there is a separate question of how to calculate
the value of lost employment. Because the fraud plaintiff would
no longer have the job, any inquiry into compensation for that
loss may entail “hypothetical” questions of what earnings the
plaintiff would have made, how long the plaintiff would have
worked, etc. But such hypotheticals are not the target of the

out-of-pocket rule. The case of Laduzginski v. Alvarez & Marsal

 

Taxand LLC, 16 N.Y¥.S.3d 229 (lst Dep’t 2015) is directly on point.

24
Case 1:15-cv-00701-JWF Document 206 Filed 09/14/21 Page 25 of 30

There, a fraud plaintiff claimed he was induced to leave his former
employment by the fraudulent misrepresentations of his new
employer. Laduzinski, 16 N.Y.S.3d at 230-31. Citing the out-of-
pocket rule, the defendants asserted that plaintiff could not
recover “alleged loss of wages he claims he would have received
from his prior [employer] .” Brief for Defendants-Respondents,

Laduzinski v. Alvarez & Marshal Taxand LLC, 16 N.Y.S.3d 229 (1st

 

Dep’t 2015), 2015 WL 9312574, at *38. The First Department
rejected that argument, holding that plaintiff's damages were not
“speculative” and represented “the sum necessary for restoration
to the position occupied before the commission of the fraud.”
Laduzinski, 16 N.Y.S.3d at 232.

The Fourth Department articulated similar reasoning in Cayuga
Harvester, where a fraud plaintiff lost a corn crop as a result of
a fraudulent misrepresentation related to a defective machine.
465 N.Y.S.2d 606, 618 (4th Dep’t 1983). It rejected the
defendants’ claim that the valuation of the lost crops must exclude
any “element of profit.” Id. at 619. Rather, the plaintiff was
entitled to recover the “profits that [it] would normally receive
from [the] corn crop if sold at market value as a return on its

investment in labor, seed, fertilizer and other expenses in the

25
Case 1:15-cv-00701-JWF Document 206 Filed 09/14/21 Page 26 of 30

crop,” since those profits and expenditures “were lost when the
corn was destroyed.” Id.

The distinction between unrealized future opportunities and
actual lost employment makes sense in light of the overriding
purpose of damages in the fraud context, which is “to restore a
party to the position occupied before commission of the fraud.”

Alpert v. Shea Gould Climenko & Casey, 559 N.Y.S.2d 312, 314 (1st

 

Dep’t 1990). A party is entitled to recover not only the
difference in value of a fraudulent bargain, but any and all

“proximately caused damages.” Carbon Capital Mgmt., LLC, 932

 

N.Y.S.2d at 494; see also Castle & Cooke v. Lincoln Mdse. Corp.,

 

477 N.Y.S.2d 390, 3390 (2d Dep’t 1984) (“Out of Pocket
considerations do not... prevent recovery of other consequential
damages proximately caused by reliance upon the
misrepresentation.” (internal quotation marks and emphasis

omitted)); Kaddo v. King Serv. Inc., 673 N.Y.S.2d 235, 237 (3d

 

Dep’t 1998) (distinguishing between “benefit of the bargain”
damages, which are not recoverable in a fraud action, and
“consequential damages flowing directly from the wrong,” which
are). It would be inconsistent with the fraud plaintiff’s right
to be fully indemnified for his losses to hold that lost earnings

associated with actual job loss are never recoverable in a fraud

26
Case 1:15-cv-00701-JWF Document 206 Filed 09/14/21 Page 27 of 30

action. Lama Holding Co., 88 N.Y.2d at 423. Plus, it would

 

conflict with those cases that unequivocally permit fraud
plaintiffs to recover for personal injuries, which necessarily
involve “pecuniary consequences” like “loss of earnings.” Doe,
958 F.2d at 770. In short, New York law permits a fraud plaintiff
to recover lost earnings resulting from actual job loss.
Accordingly, the Court rejects defendants’ first argument.

Next, defendants argue that one can only recover lost wages
if “[the] alleged tort caused a loss of earning capacity.” Docket
# 194 at 6.

Much like their prior argument, this argument was addressed
by the First Department’s decision in Laduzinski. 16 N.Y.S.3d at
232. To reiterate, the Laduzinski plaintiff alleged he was
fraudulently induced to quit his employment and accept a new job
offer, but he was subsequently fired once his new employer secured
his contact list. Id. at 230-31. The plaintiff did not allege
any loss of earning capacity but stated that the fraud caused him
to leave “his stable and well compensated employment .. . , which
brought about a setback in his career.” Id. at 231. The court
rejected defendants’ argument that such damages were unrecoverable
and held that the plaintiff could obtain damages to compensate for

his lost employment and “restor[e] [him] to the position [he]

27
Case 1:15-cv-00701-JWF Document 206 Filed 09/14/21 Page 28 of 30

occupied before the commission of the fraud.” Id. at 232. This

holding cannot be reconciled with defendants’ assertion, and I

find the Laduzinski rationale both logical and persuasive.
Furthermore, the primary case on which defendants rely —

Clanton v. Agoglitta, 615 N.Y.S.2d 68 (2d Dep’t 1994) — does not

 

stand for the broad proposition defendants ascribe to it. Clanton
did not involve a fraud claim, but an automobile negligence action.
Clanton, 615 N.Y¥.S.2d at 68. The issue before the Appellate
Division was whether a jury verdict “as to damages for impairment
of earning ability” deviated “materially from what would be
reasonable compensation” for purposes of N.Y. C.P.L.R. § 5501(c),
and the court noted that the “basic rule is that loss of earnings
must be established with reasonable certainty” and that the
analysis must focus “in part” on the plaintiff’s “earning capacity
both before and after the accident.” Id. at 69. The court did
not purport to make any broad holding regarding the availability
of loss-of-earnings damages in a fraud action.

In sum, defendants have not persuaded the Court that

plaintiff's requested damages are precluded under New York law.?

 

3 To the extent defendants are merely arguing that plaintiff failed to mitigate
his damages, the Court declines to address that issue. Like the issue of
causation, that is a fact-sensitive question that would need to be resolved
through a thorough analysis of the record evidence, which cannot be undertaken

28
Case 1:15-cv-00701-JWF Document 206 Filed 09/14/21 Page 29 of 30

Because the Court has rejected defendants’ arguments on the fraud
claim, there is presently no reason why Dr. Zaporowski should be
barred from testifying to the earnings and benefits plaintiff lost
when he was terminated from his employment. Whether plaintiff can
sufficiently connect those damages to defendants’ fraud is an issue
for the jury to decide at trial.

Subject Matter Jurisdiction: Because the Court informed the

 

parties prior to the issuance of this Decision and Order that it
intended to dismiss the civil RICO claim — the only remaining
federal cause of action -—- it ordered supplemental briefing
concerning the Court’s continuing subject matter jurisdiction.
The parties have filed their supplemental arguments, Docket ##
203-05, and they confirm to the Court that it continues to have
subject matter jurisdiction over this matter.

First, diversity jurisdiction exists, insofar as plaintiff
alleged damages exceeding $75,000 in good faith, Docket # 1; Am.

Safety Cas. Ins. Co. v. 385 Onderdonk Ave., LLC, 124 F. Supp. 3d

 

237, 242 (E.D.N.Y¥. 2015), and the parties appear to agree there is
complete diversity. Docket # 203 at 6; Docket # 204 at 2; see

generally 28 U.S.C. § 1332. Second, even if it did not exist, the

 

summarily at this juncture. Defendants may, of course, raise this issue at
trial.

29
Case 1:15-cv-00701-JWF Document 206 Filed 09/14/21 Page 30 of 30

Court would exercise its discretion to retain supplemental
jurisdiction over the fraud claim under 28 U.S.C. § 1367. The
relevant factors support the exercise of supplemental
jurisdiction: this case has been pending for more than five years,
it is ready for trial, there are no novel issues of state law, and
it would be unfair to the parties to force them to restart the

litigation in state court. See generally Catzin v. Thank You &

 

Good Luck Corp., 899 F.3d 77, 86 (2d Cir. 2018).

Accordingly, the Court retains subject matter jurisdiction
over this action.

CONCLUSION

For the reasons stated above, the Court GRANTS IN PART and
DENIES IN PART defendants’ motion (Docket ## 194, 200). The civil
RICO claim is dismissed pursuant to the Court’s authority under
Rule 56(f£), but defendants’ motion is otherwise denied.

By separate order, the Court will set a status conference for

the purpose of rescheduling the trial.

 
  
  

 

SO ORDERED.

| JONATHAN W. FELDMAN

JED STATES MAGISTRATE JUDGE
Dated: Rochester, New York

September [Y, 2021
30
